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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


FCS ADVISORS, LLC,

                                Plaintiff,

                 —against—                            21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                             Defendants.


         MEMORANDUM OF LAW IN SUPPORT OF EXPEDITED MOTION
            OF RECEIVER FOR AN ORDER FURTHER EXTENDING
            THE STAY PROVIDED IN THE RECEIVERSHIP ORDER



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Dated: January 17, 2023             Counsel for Michael Fuqua, in his capacity as
                                    Receiver of Theia Group, Inc., Theia Aviation LLC,
                                    and Theia Holdings A, Inc.
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         Michael Fuqua, as court-appointed receiver (the “Receiver”) for Theia Group, Inc.

(“TGI”), Theia Aviation LLC (“Theia Aviation”), and Theia Holdings A, Inc. (“Theia Holdings”

and collectively with TGI and Theia Aviation, the “Receivership Entities”), through his

undersigned counsel, files this memorandum of law (this “Memorandum of Law”) in support of

the Expedited Motion of Receiver for an Order Further Extending the Stay Provided in the

Receivership Order (the “Motion”) filed contemporaneously herewith. In further support of the

Motion, the Receiver relies upon the Declaration of Michael Fuqua, as Receiver, in Support of the

Motion (“Fuqua Declaration” or “Fuqua Decl.”), which is being filed contemporaneously with the

Motion and this Memorandum of Law and is incorporated herein by reference. Additionally, the

Receiver relies upon the executed Asset Purchase Agreement dated as of January 17, 2023 (the

“APA”)1 by and among TGI, Theia Aviation, Theia Holdings, as sellers (collectively, “Sellers”),

and Rising Sky, LLC, as buyer (“Rising Sky” or “Buyer”), a true and accurate copy of which is

attached to the Fuqua Declaration as Exhibit 1.

         By the Motion, the Receiver respectfully requests that this Court further extend the

Receivership Stay through and including April 30, 2023. Granting the requested relief will permit

the Receiver and Rising Sky to pursue consummation of the proposed transaction memorialized in

the APA for the benefit of all creditors of the Receivership Entities or, alternatively, will afford

the Receiver time to prepare voluntary bankruptcy petitions for the Receivership Entities.

                                          BACKGROUND

         1.      On November 8, 2021, the United States District Court for the Southern District of

New York (this “Court”) entered an Order Appointing Michael Fuqua as Receiver (Doc. 117) (the

“Receivership Order”) in the above-captioned case (the “Receivership Case”). Pursuant to the


1
    Capitalized terms used but not otherwise defined in this Memorandum of Law shall have the meanings
    ascribed to such terms in the APA.
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Receivership Order, this Court appointed the Receiver as a federal receiver for the assets of the

Receivership Entities.

        2.      The Receivership Order provides, in relevant part, that the Receiver “has exclusive

custody, control, and possession of all the . . . property . . . and other assets of, in the possession

of, or under the control of the Receivership Entities, wherever situated.” Receivership Order, ¶ 3.

The Receivership Order further provides that the Receiver “may preserve, hold, and manage all

receivership assets, and perform all acts necessary to preserve the value of the receivership assets,

in order to prevent any loss, damage or injury. . . .” Id., ¶ 7.

        3.      The Receivership Order also provides that “[t]he Receiver may seek a bona fide

purchaser of the Receivership Entities’ Federal Communications Commission (“FCC”) License

Assets . . . and to take all steps necessary to effectuate a transfer or sale of the assets, except any

transfer of control of such FCC License shall be submitted to the Court for approval.”

Receivership Order, ¶ 6.

        4.      The Receivership Order also permits the Receiver to “apply to the Court for . . .

authority on an expedited basis,” with objections “to the relief sought by the Receiver” to be filed

within “3 business days unless otherwise ordered by the Court.” Receivership Order, ¶ 15. The

Receiver is requesting expedited relief in accordance with Paragraph 15 of the Receivership Order

and, if any objections are filed to the Motion, the Receiver respectfully requests that (if the Court

believes a hearing is appropriate) the Court schedule a prompt hearing on the relief requested.

        5.      Additionally, paragraph 9 of the Receivership Order provides that “[i]f the Receiver

determines that any of the Receivership Entities should undertake a bankruptcy filing, the Receiver

is authorized to commence cases under title 11 of the United States Code for such entities.” Id.,

¶ 10.




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   A. The Receivership Stay and Extensions Thereof

       6.      To effectuate the foregoing provisions and provide the Receiver with the requisite

breathing room to perform his duties, the Receivership Order also provides for a stay of all

litigation (the “Receivership Stay”) against Receivership Entities:

               For a period of 120 days, no person or entity, including any creditor
               or claimant of the Receivership Entities, shall commence or
               maintain an action, proceeding, lawsuit or bankruptcy case against
               the Receivership Entities or impacting the property and assets
               subject to this Order, including an action, proceeding or lawsuit
               heretofore commenced, without having first obtained leave of this
               Court. Any party or non-party may seek leave from this Court to
               commence or maintain an action, proceeding, lawsuit or bankruptcy
               case upon a showing that such a petition is appropriate and would
               not interfere with the receivership estate.

See Receivership Order, ¶ 4.

       7.      The Receivership Stay initially was set to expire on March 9, 2022, which was the

120th day following the Court’s entry of the Receivership Order on November 8, 2021.

       8.      By a series of motions and orders, the Receiver requested, and the Court granted,

extensions of the Receivership Stay through January 31, 2023. See Doc. 211-12, Doc. 219

(granting first extension); Doc. 258-59, Doc. 270 (granting second extension); Doc. 298 (sua

sponte granting third extension); Doc. 307-08, Doc. 312 (granting fourth extension).

   B. Ongoing Sale Efforts and Management of the Receivership Estates

       9.      Since the entry of the Order approving the most recent extension of the

Receivership Stay, the Receiver has continued his substantial efforts to protect, market, and

consummate a sale of the Receivership Assets. See Fuqua Decl. ¶ 4.

       10.     The Receiver, through Akin Gump Strauss Hauer & Feld LLP, remains in

communication with the Federal Communications Commission (the “FCC”) and the Committee

on Foreign Investment in the United States (“CFIUS”) regarding, among other things, the FCC



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License, and provides periodic updates to the FCC and/or CFIUS regarding the Receivership Case.

See Fuqua Decl. ¶ 5.2

      C. Execution of the APA with Rising Sky

          11.     The process of selling the Receivership Entities’ assets, including the spectrum

license (the “FCC License”), the National Oceanic and Atmospheric Administration license (the

“NOAA License”), and intellectual property and other tangible and intangible property

(collectively with the FCC License and the NOAA License, the “Receivership Assets”) has been

ongoing.

          12.     Subject to this Court’s approval after notice and a hearing, on behalf of the

Receivership Entities, as Sellers, the Receiver has executed an Asset Purchase Agreement with

Rising Sky, as Buyer. See Fuqua Decl., Exhibit 1.

          13.     Pursuant to the APA, Rising Sky has agreed to acquire (subject to approval of the

Court), inter alia, (i) all Tangible Personal Property of the Receivership Entities (including,

without limitation (and subject to government approval), the FCC License and the NOAA

License); (ii) all Aircraft; (iii) all Intellectual Property Assets; (iv) all Claims, choses in action,

causes of action, and demands of Sellers; (v) all insurance benefits arising from or related to the

Acquired Assets prior to Closing, and (vi) all Deposit Rights. See APA, § 2.01.

          14.     If the Closing occurs, the Receivership Entities will receive (i) a Cash Payment in

the amount of $175 million and (ii) a waiver and release of (a) the FCS Obligations (approximately



2
    As part of his efforts to protect the receivership estate, the Receiver continues to analyze the pre-
    receivership accounts. See Fuqua Decl. ¶ 6. For example, the Receiver is working with taxing authorities
    and various professionals to identify amounts owed (if any) on account of federal, state, and local taxes.
    Id. The Receiver also continued cooperating with the United States Department of Justice by reviewing
    and producing documents in response to four (4) broad grand jury subpoenas issued by the United States
    District Court for the District of Columbia. Id. ¶ 7.



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$412.1 million), (b) the Aithre Obligations (approximately $37.6 million), and the (c) F&F

Obligations (approximately $179 million).3 See Fuqua Decl., ¶ 9. As part of the Cash Payment,

Rising Sky is required to pay the Sellers a Deposit of $40 million in cash on or before March 31,

2023, with the remainder of the Cash Payment due at Closing. Id., ¶ 11.

         15.     The APA contemplates that the Closing will occur on the earlier of

(i) June 30, 2022; (ii) five (5) Business Days after Governmental Approval to transfer the Licenses

to Buyer; or (iii) a date and time mutually agreed upon in writing by the Parties. See Fuqua Decl.,

¶ 12.

         16.     To be clear, although the APA has been executed, the Receiver does not have a

meaningful remedy with respect to any possible breach of the APA unless and until the Buyer

makes the $40 million Deposit due on March 31, 2023. See Fuqua Decl., ¶ 13. Accordingly, the

Receiver is not seeking Court approval of the APA at this time. Rather, upon receipt of the Deposit

(or indisputable proof of the ability to pay the Deposit), the Receiver will file a motion seeking

this Court’s approval of the APA. Id., ¶ 14.

         17.     To the extent, however, that Rising Sky fails to remit the Deposit to the Receiver

on or before March 31, 2023, the Receiver anticipates filing voluntary petitions for relief under

the Bankruptcy Code for each of the Receivership Entities. See Fuqua Decl., ¶ 15.

     D. Further Extension of the Receivership Stay is Necessary.

         18.     Extending the Receivership Stay through April 30, 2023 (without prejudice to the

Receiver’s right to seek further extensions) is essential to determine whether Rising Sky will be

able to obtain the financing necessary to consummate the APA. See Fuqua Decl., ¶ 16. Although


3
    Rising Sky has negotiated the purchase of the FCS Obligations and the F&F Obligations (which
    comprises the vast majority—approximately 84% of the principal invested ($63 million out of $75
    million) and approximately 89% in number (142 out of 162)—of the “friends and family” investors.) and
    would be required to negotiate the purchase of the Aithre Obligations. See Fuqua Decl., ¶ 10.


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Rising Sky has not obtained any firm financing commitment, Rising Sky is engaged with several

potential lenders. Id.., ¶ 17.

          19.     As previously reported, Rising Sky advised the Receiver that the Rising Sky

transaction was contingent upon the transaction occurring in this receivership Court and outside

of the bankruptcy context based on its view that bankruptcy would diminish the value of the

Receivership Assets. See Fuqua Decl., at ¶ 18.

          20.     Allowing the Receivership Stay to expire on January 31, 2023 could prematurely

terminate the sale process, stymie any effort to consummate the Rising Sky sale transaction, and

lead to the premature filing of bankruptcy petitions on behalf of the Receivership Entities to the

detriment of their creditors.

                                        RELIEF REQUESTED

          21.     Through the Motion, the Receiver respectfully requests entry of an Order, on an

expedited basis, in substantially the form attached to the Motion as Exhibit A (the “Proposed

Order”): (i) further extending the Receivership Stay through April 30, 2023,4 without prejudice to

the Receiver’s right to request further extensions of the Receivership Stay; and (ii) granting such

other relief as is appropriate.

                                  BASIS FOR RELIEF REQUESTED

          22.     The Court has wide discretion in crafting the appropriate procedures for

administering the assets of a receivership estate. See S.E.C. v. Amerindo Inv. Advisors Inc.,

2016 U.S. Dist. LEXIS 195593, at *6 (S.D.N.Y. May 20, 2016) (citation omitted). An anti-

litigation injunction or stay is “one of the tools available to courts to help further the goals of the

receivership.” S.E.C. v. Byers, 609 F.3d 87, 92 (2d Cir. 2010). A district court’s litigation stay


4
    The Receiver reserves the right to seek a further extension of the Receivership Stay to accommodate the
    potential closing of the transaction memorialized by the APA (to the extent approved by this Court).


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“rests as much on [the court’s] control over the property placed in receivership as on its jurisdiction

over the parties” to the underlying claim. Id. at 91; see also Lankenau v. Coggeshall & Hicks,

350 F.2d 61, 63 (2d Cir. 1965) (“There is a substantial jurisdictional basis for allowing the federal

court receiver to have and keep custody and control of the assets in question, and to obtain the

relief needed to implement that custody.”); S.E.C. v. Callahan, 2 F. Supp. 3d 427, 436-37

(E.D.N.Y. 2014) (same).

       23.     It is well recognized in the Second Circuit that “[a] district court may impose a

litigation stay on a non-party to a receivership as part of its inherent power as a court of equity to

fashion effective relief.” Byers, 609 F.3d at 91 (authorizing blanket stay of all litigation against

receivership property in SEC receivership context); see also S.E.C. v. Illarramendi,

2012 U.S. Dist. LEXIS 8890 (D. Conn. Jan. 25, 2012) (“The Second Circuit has recognized that

an anti-litigation injunction or litigation stay in a receiver order is a valid exercise of a district

court’s equitable powers.”) (citing Byers, 609 F.3d at 92); United States v. Royal Bus. Funds Corp.,

724 F.2d 12 (2d Cir. 1983) (affirming order enjoining debtor from filing a bankruptcy petition

where a receivership was already underway and the filing would “disrupt the receiver’s attempts

to improve the company’s fortunes.”).

       24.     The purpose of imposing a stay of litigation is clear: “a receiver must be given a

chance to do the important job of marshaling and untangling a company’s assets without being

forced into court by every investor or claimant.” U.S. v. Acorn Tech. Fund, L.P., 429 F.3d 438,

443 (3d Cir. 2005). The stay generally remains in place to preserve the status quo of creditors and

claims so that a receiver may administer the assets in an equitable manner—often until the

receivership assets have been distributed in full.           See, e.g., S.E.C. v. Universal Fin.,

760 F.2d 1034, 1038 (9th Cir. 1985) (no abuse in refusing to lift stay four (4) years into the case).




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        25.    Here, extending the Receivership Stay to April 30, 2023 is necessary to preserve

the Receivership Assets and allow the Receiver the further opportunity to maximize the value of

the Receivership Entities’ assets for the benefit of all creditors. In particular, extending the

Receivership Stay is in accord with permitting the Receiver to discharge his duty under

paragraph 6 of the Receivership Order, which charges the Receiver with the pursuit of a sale of

the FCC License. Indeed, the Court has recognized that the continuation of the Receivership Stay

is “in the best interest of the Receivership Entities, their creditors and other potentially affected

third parties” because the “sale of the largest assets represents the best hope of creditors who are

able to prove their claims for receiving payment.” See Order, Doc. 270, at 2.

        26.    At this time, bankruptcy or continued litigation would be an unnecessary and

resource-consuming distraction from the Receiver’s critical mission. See, e.g., Acorn Tech. Fund,

L.P., 429 F.3d at 443 (recognizing receiver’s need to proceed unhindered by litigation, and the

very real danger of litigation expenses diminishing the receivership estate).

        27.    No third parties will be prejudiced by the further extension of the Receivership Stay

because the Receivership Order provides a mechanism by which such parties can request that the

Court lift the Receivership Stay. See Receivership Order, ¶ 4 (“Any party or non-party may seek

leave from this Court to commence or maintain an action, proceeding, lawsuit or bankruptcy case

upon a showing that such a petition is appropriate and would not interfere with the receivership

estate.”).

        28.    As indicated above, to the extent the Court extends the Receivership Stay through

April 30, 2023 and Rising Sky is able to fund the Deposit, the Receiver intends to file a motion

seeking Court approval of the APA (and may contemporaneously seek further extensions of the

Receivership Stay as necessary to close the sale transaction). To the extent that Rising Sky is




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unable to move forward with the Rising Sky sale transaction (and no Alternative Transaction is

available), the Receiver will prepare voluntary petitions for relief under the Bankruptcy Code.

       29.     For the foregoing reasons, the Receiver respectfully requests that the Court exercise

its broad powers and wide discretion in the context of this equity receivership and further extend

the Receivership Stay through and including April 30, 2023, without prejudice to the Receiver’s

right to request further extensions.

                                             NOTICE

       30.     The Receivership Order provides that “[t]he Receiver may apply to the Court for

additional authority on an expedited basis. Any party objecting to the relief sought by the Receiver

shall respond within 3 business days unless otherwise ordered by the Court.” Receivership Order,

¶ 15. The Receiver submits this Motion on an expedited basis so that the Court may extend the

Receivership Stay for the reasons set forth herein.

       31.     The Receiver provided notice of the Motion to (a) all parties that have entered their

appearance in the Receivership Case via CM/ECF and (b) any person or entity with a known,

particularized interest in the subject matter of the Motion via first class mail, facsimile, or

electronic mail (where available). The Receiver submits that, in light of the nature of the relief

requested (and creditors’ ability to request relief from the Receivership Stay), no other or further

notice need be given.

                                         CONCLUSION

       WHEREFORE, the Receiver, Michael Fuqua, by and through his undersigned counsel,

respectfully requests entry of the Proposed Order (i) further extending the Receivership Stay

through and including April 30, 2023, without prejudice to the Receiver’s right to request further

extensions of the Receivership Stay; and (ii) granting such other relief as is appropriate.




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Dated: January 17, 2023

                                   Respectfully submitted,

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